,nded 09/2015
                 Case 1:20-cr-00136-JMS Document 208 Filed 10/25/22 Page 1 of 1                           PageID.1486


                OR\G\ NAL                                                                                  FILED IN THE
                                                                                                 UNITED ST,l.TES DISTR,rT ;-;n1 JRT
                                                UNffED STATES DISTRICT COURT                            DISTRICT Ot-" tiAWAII

                                                        DISTRICT OF HAWAll                                OCT 2 5 2022
                                                                                                  at_§_o'cfock ana Jo miri.~     .-v,
                                                     Request for Media Blogging
                                                                                                      John A. Mannie, Clerk
                 The undersigned requests that the court allow blogging during the proceeding(s) described
                                                                                                                                ls
                 below. Requests must be emailed to the presiding judge's email address for orders. For matters
                 calendared at least 28 days in advance, requests must be received by the court 14 days prior to the
                 start of the proceeding. For matters calendared less than 28 days in advance, requests must be
                 made as soon as practicable.


                     Case Name:     USA V. Alo-Kaonohi; Aki Case No.   20-cr-00136-JMS
                     Presiding District or Magistrate Judge: Seabright
                                                             ----------------
                     Medi a Outlet:         The Associated Press
                  Representative(s):    Jennifer Kelleher, Audrey McAvoy, Caleb Jones
                  Email Address To Send Completed Request Form:~ik_e_lle_h_er--'--@-'.a-'--o_
                                                                                      -' .o_ r q ' - - - - - - - - - --
                 • Permiss ion being sought for the following hearing(s):


                                       Date            Time                   Hearing Type

                                     11/7/22-        various       jury selection/jury trial
                                     ongoing                       all future on-the-record
                                                                 proceedings in open court.




                  DATE D:         _1_0/_2_1_/2_2__   SIGNATURE:                ~ ~~
                                                     PRINTED NAME:           Jennifer Kelleher


                 IT   y-o   ORDERED.

                 @APPROVE D            •   APPROVED AS MODIFIED                •    DENIED


                  DATED             Jo{c4zc                                JIA,.,lQ £4
